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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

MELANEE PACKARD,

   Plaintiff,                                       CASE NO.:

-VS-

WELLS FARGO BANK, N.A.,

   Defendant.
                                      /

                                           COMPLAINT

       1.       Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et

seq. (“FCCPA”).

                                          INTRODUCTION

       2.       The TCPA was enacted to prevent companies like WELLS FARGO BANK,

N.A., from invading American citizens’ privacy and prevent abusive “robo-calls.”

       3.       “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, –US--, 132 S.Ct. 740, 745,

181 L.Ed.2d 881 (2012).

       4.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.” 137 Cong. Rec. 30, 821 (1991) “Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osario v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

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       5.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposal.

                                  JURISDICTION AND VENUE

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       8.      The alleged violations described herein occurred in Sarasota County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                   FACTUAL ALLEGATIONS

       9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in North

Port, Sarasota County, Florida.

       10.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).


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         11.   Plaintiff is a “consumer” as defined in Florida Statute §559.55(8).

         12.   Defendant is a Corporation and National Association with a principal place of

business in San Francisco, California, and conducting business in the state of Florida.

         13.   The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute §559.55(6).

         14.   Defendant is a “creditor” as defined in Florida Statute §559.55(5).

         15.   Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(941) *** - 3259, and was the called party and recipient of Defendant’s hereinafter described

calls.

         16.   In or about May of 2015, Plaintiff began receiving calls to her aforementioned

cellular telephone from Defendant seeking to recover an alleged debt.

         17.   Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following phone number: (800) 678-7986, and

when that numbers is called, a pre-recorded message answers “Welcome to Wells Fargo Home

Mortgage. Para continuar in Español, oprima nueve. To get started, please enter your loan

number, followed by pound.”

         18.   Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, without human

intervention, using a random or sequential number generator (including but not limited to a

predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by

47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an

autodialer because of the vast number of calls she received and because when she answered a


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call from the Defendant she would hear either an extended pause before a representative would

come on the line, or an automated message telling her the call was from Wells Fargo, and to

please hold the line for the next available representative.

        19.     Furthermore, each of the calls at issue were placed by the Defendant using a

“prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        20.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

        21.     Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

        22.     On or about May 19, 2015, Plaintiff returned a call to Defendant, nagivated the

automated prompts until she was connected to a live representative, and informed that

agent/representative of Defendant that they were to take her cell number out of their system, that

if they wanted to reach her, they needed to call her landline, and demanded that the Defendant

cease placing calls to her aforementioned cellular telephone number.

        23.     During the aforementioned phone conversation on or about May 19, 2015 with

Defendant’s agent/representative, Plaintiff unequivocally revoked any express consent

Defendant may have had for placement of telephone calls to Plaintiff’s aforementioned cellular

telephone number by the use of an automatic telephone dialing system or a pre-recorded or

artificial voice.

        24.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was done so without the “express permission” of the Plaintiff.

        25.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was knowing and willful.


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       26.     Additionally, in or about June of 2015, due to continued automated calls to her

aforementioned cellular telephone number from the Defendant, Plaintiff again answered a call

from Defendant, met with an extended pause, was eventually connected to a live

agent/representative of Defendant, and informed the agent/representative of Defendant that she

had previously informed them not to call her cellular phone, and again demanded that Defendant

cease placing calls to her aforementioned cellular telephone number.

       27.     Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express permission the

Defendant may have had to call her aforementioned cellular telephone number.

       28.     On at least four (4) separate occasions, Plaintiff has either answered a call from

Defendant or returned a call to Defendant regarding her account, held the line to be connected to

a live representative, and demanded that Defendant cease placing calls to her aforementioned

cellular telephone number.

       29.     Each of the Plaintiff’s requests for the harassment to end were ignored.

       30.     From about May of 2015 through the filing of this Complaint, Defendant has

placed approximately seventy-five (75) calls to Plaintiff’s aforementioned cellular telephone

number.

       31.     Additionally, on at least twenty (20) different occasions, Plaintiff received an

automated telephone call to her aforementioned cellular telephone from Defendant, which left a

voicemail including the following identical pre-recorded message:

             “This is Sarah with Wells Fargo Home Mortgage, your mortgage
             servicer, calling in regards to your mortgage. Please call us at 800 678
             7986. Our hours of operation are seven o’clock am to ten o’clock pm
             central time, Monday through Friday; eight o’clock am to six o’clock pm
             central time on Saturdays; and one o’clock pm to five o’clock pm on


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              Sundays. That phone number once again is 800 678 7986. We look
              forward to talking with you today. Thank you.”

        32.      Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling multiple times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

        33.      Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

        34.      Defenant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

number removed from Defendant’s call list.

        35.      Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        36.      Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        37.      Defenant has had numerous complaints against it from consumers across the

country asking to not be called; however, Defendant continues to call these individuals.

        38.      Defendant violated the TCPA with respect to the Plaintiff.

        39.      Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

                                             COUNT I
                                      (Violation of the TCPA)

        40.      Plaintiff incorporates Paragraphs one through thirty-nine (39) above as fully

stated herein.

        41.      Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified


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Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

and wished for the calls to stop.

       42.       Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, treble damages, punitive damages, actual

damages and any other such relief the court may deem just and proper.

                                             COUNT II
                                     (Violation of the FCCPA)

       43.       Plaintiff incorporates Paragraphs one through thirty-nine (39) above as fully

stated herein.

       44.       At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

       45.       Defendant has violated Florida Statute §559.72(7) by willfully communicating

with the debtor or any member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family.

       46.       Defendant has violated Florida Statute §559.72(7) by willfully engaging in

conduct which can reasonably be expected to abuse or harass the debtor or any member of her or

his family.

       47.       Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

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judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.



                                             Respectfully Submitted,

                                              s/Shaughn C. Hill
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